                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION

                                 NO. 4:24-CR-00057-M

UNITED STATES OF AMERICA

             V.                                  CONSENT PRELIMINARY
                                                 ORDER OF FORFEITURE
ALSTON LAMONTE PARKER

       WHEREAS, the above- named defendant has pleaded guilty pursuant to a

written plea agreement to Counts Two a nd Three of the Indictment, charging the

defendant with offenses in violation of 18 U.S.C. § 924, and 21 U.S.C. § 841(a)(l);

      AND WHEREAS, the defendant consents to the terms of this Order and to the

forfeiture of the property that is the subj ect of this Order of Forfeiture; stipulates and

agrees that each firearm and ammunition was involved in or used in the offense(s) to

which he pleaded guilty, or was in the defendant's possession or immediate control at

the time of arrest, and is therefore subject to forfeiture pursuant to 18 U.S.C.

§ 924(d)(l) and/or 18 U.S.C. § 3665 ;

      AND WHEREAS, the defendant stipulates and agrees that the defendant

individually, or in combination with one or more co-defendants, has or had an

ownership, beneficial, possessory, or other legal interest in and/or exercised dominion

and control over each item of property that is subject to forfeiture herein;

      AND WHEREAS , the defendant knowingly and expressly agrees to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2(a), 32.2(b)(l),

32.2(b)(4), and 43(a), including waiver of any defect respecting notice of the forfeiture

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in the charging instrument or the plea colloquy; waiver of the right to a hearing to

present additional evidence respecting the forfeitability of any specific property or the

amount of any forfeiture money judgment; waiver of the right to be present during

any judicial proceeding respecting the forfeiture of the property that is the subject of

this Order of Forfeiture or to receive further notice of the same; waiver of any defect

respecting the announcement of the forfeiture at sentencing; and waiver of any defect

respecting the inclusion of the forfeiture in the Court's judgment;

      AND WHEREAS, the defendant knowingly and expressly agrees that the

provisions of this Consent Preliminary Order of Forfeiture are intended to, and shall,

survive the defendant's death, notwithstanding the abatement of any underlying

criminal conviction after the entry of this Order; and that the forfeitability of any

particular property identified herein shall be determined as if defendant had

survived, and that determination shall be binding upon defendant's heirs, successors

and assigns until the agreed forfeiture , including any agreed money judgment

amount, is collected in full;

       NOW, THEREFORE, based upon the Memorandum of Plea Agreement, the

stipulations of the parties, and all of the evidence of record in this case, the Court

FINDS as fact a nd CONCLUDES as a matter of law that there is a nexus between

each item of property listed below and the offense(s) to which the defendant has

pleaded guilty, and that the defendant (or any combination of defendants in this case)

has or h ad an interest in the property to be forfeited,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:


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       1.    The following property is forfeited to t he United States pursuant to Fed.

R. Crim. P . 32.2(b)(2) and 18 U.S.C. §§ 924(d) a nd 3665, and 26 U.S.C. § 5872 :

             P ersonal Property:

             a) One Springfield Armory, Model XDS 9mm pistol bearing serial

                 number BA138471 , seized from a vehicle operated by Alston

                 Lamonte Parker on March 5, 2024, in Roanoke Rapids, NC and any

                 and all associated ammunition .

      2.     Pursuant to Fed. R. Crim. P. 32.2(b)(3), the U.S. Attorney General,

Secretary of the Treasury, Secretary of Homeland Security, or a designee is

au thorized to seize, inventory, a nd otherwise maintain custody and control of the

property, wh eth er held by the defendant or by a third-party. Any person who

knowingly destroys, damages, wastes, disposes of, transfers, or otherwise

takes any action with respect to the property, or attempts to do so, for the

purpose of preventing or impairing the Government's lawful authority to

take such property into its custody or control or to continue holding such

property under its lawful custody and control, may be subject to criminal

prosecution pursuant to 18 U.S.C. § 2232(a).

      3.     Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(l)(B), t he United

States is authorize d to conduct any discovery pursuant to th e applicable F ederal

Rules of Civil Procedure needed to identify, locate , or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents a nd for admission, and t he issuance of subpoenas.


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       4.    If and to the extent required by F ed. R. Crim. P. 32.2(b)(6), 21 U.S.C.

§ 853(n), and/or other applicable law, the United States sh all provide notice of this

Order and of its intent to dispose of the specified real and/or person al property listed

above, by publishing and sending notice in the same manner as in civil forfeiture

cases, as provided in Rule G( 4) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions. The United States sh all then file a Notice with

the Court documenting for the record:' (1) proof of publication, or the government's

reliance on an exception to the publication requirement found in Supplemental Rule

G(4)(a)(i); and (2) the government's efforts to send direct notice to all known pote ntial

third-party claimants in accordance with Supplemental Rule G(4)(b)(iii), or a

representation that no other potential claimants are known to the government. This

Order shall not take effect as the Court's Final Order of Forfeiture until an

appropriate Notice has been filed a nd t he time in which any third parties with notice

of the forfeiture are permitted by law to file a petition h as expired.

      5.     Any person other than the above-named defendant, having or

claiming any legal interest in the subject property must, within 30 days of

the final publication of notice or of receipt of actual notice, whichever is

earlier, petition the Court to adjudicate the validity of the asserted interest

pursuant to Fed. R. Crim. P. 32.2(c)(l) and 21 U.S.C. § 853(n)(2). The petition

must be signed by the petitioner under penalty of perjury and shall set

forth: the nature and extent of the petitioner's right, title, or interest in the

subject property; the time and circumstances of the petitioner's acquisition


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of the right, title, or interest in the property; any additional facts supporting

the petitioner's claim; and the relief sought. The petition may be hand-

delivered to the Clerk at any federal courthouse within the Eastern District

of North Carolina or mailed to the following address:


                           U.S. District Court Clerk
                           Eastern District of North Carolina
                           P.O. Box 25670
                           Raleigh, NC 27611

      6.     If one or more timely petitions are received by the Court, the Court will

enter a separate scheduling order governing the conduct of any forfeiture ancillary

proceedings under Fed. R. Crim. P . 32.2(c). Following the Court's disposition of all

timely filed petitions, a Final Order of Forfeiture that amends this Order as necessary

to account for any third-party rights sh all be entered pursuant to Fed. R. Crim. P .

32.2(c)(2) and 21 U.S.C. § 853(n)(6). The receipt of a petition as to one or more specific

items of property shall not delay this Order of Forfeiture from becoming final , in

accordance with the following paragraph, as to any remaining property to which no

petition has been filed.

      7.     If no third party files a timely petition, or if this Court denies and/or

dismisses a ll third party petitions timely filed, this Order shall become the Final

Order of Forfeiture, as provided by F ed. R. Crim. P. 32.2(c)(2), and the United States

shall dispose of the property according to law, including without limitation

liquidation by sale or any other commercially feasible means, destruction, and/or

retention or transfer of an asset for official u se. The United States shall have clear

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title to the property and may warrant good title to any subsequent purchaser or

transferee pursuant to 21 U.S.C. § 853(n)(7). If any firearm or ammunition subject

to this Order is in the physical custody of a state or local law enforcement agency at

the time this Order is entered, the custodial agency is authorized to dispose of the

forfeited property by destruction or incapacitation in accordance with its regulations,

when no longer needed as evidence.

      8.     Upon sentencing and issu ance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P . 32.2(b)(4)(A), with the defendant's

consent, this Order shall be final as to the defendant upon entry.

      9.     The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).
                                 :it:::     -.--
       so ORDERED, this the -, day of _j.,_..,. • 1 ~                  , 2024.




                                 RICHARD E. MYERS II
                                 CHIEF UNITED STATES DISTRICT JUDGE




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        WE ASK FOR THIS:


        MICHAEL F. EASLEY, JR.
        United States Attorney                     Alston Lamont Pa rker
                                                   Defendant


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        Kimberly N. Di                             P aul A. Downing
        Assistant Unite States Attorney            Attorney for th e Defenda nt
        Cr iminal Division




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